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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:19-cv-03496-RMR-KLM

   Email on Acid, LLC,

                     Plaintiff,

   v.

   250ok, Inc., and Validity, Inc.,

                     Defendants.


        PLAINTIFF’S MOTION TO STRIKE THE DECLARATION OF MATTHEW T.
                                MCLAUGHLIN


          Pursuant to the Colorado Dispute Resolution Act, Colo. Rev. Stat. § 13-22-307, plaintiff

   Email on Acid, LLC (“Email on Acid” or “Plaintiff”) hereby moves to strike paragraphs 5 through

   14 of the Declaration of Matthew T. McLaughlin (ECF No. 121-1), submitted by defendants

   250ok, Inc. (“250ok”) and Validity, Inc. (“Validity,” and together with 250ok, “Defendants”) in

   support of Defendants’ Motion to Enforce Settlement Agreement (“Motion to Enforce”).

                                   PRELIMINARY STATEMENT

          On September 7, 2022 Plaintiff and Defendants participated in a mediated settlement

   conference with Magistrate Judge Hegarty. The parties failed to reach a settlement. The settlement

   conference concluded without any signed settlement agreement or signed term sheet. Indeed, there

   isn’t even an unsigned draft settlement agreement or term sheet – because the parties simply did

   not get that far during the unsuccessful settlement conference.

          Nevertheless, Defendants have filed the Motion to Enforce. In support of their Motion to

   Enforce, Defendants rely exclusively on a declaration from their litigation counsel Matthew T.

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   McLaughlin (“McLaughlin Declaration”). Indeed, the McLaughlin Declaration is the exclusive

   source of evidence cited in the Motion to Enforce for Defendants’ contention that there is a binding

   settlement agreement capable of enforcement by this Court. Paragraphs 5 through 13 of the

   McLaughlin Declaration, describing confidential mediation communications that occurred during

   the September 7, 2022 mediated settlement conference with Judge Hegarty, are plainly

   inadmissible under the Colorado Dispute Resolution Act (“CDRA”).             Paragraph 14 of the

   McLaughlin Declaration, describing part of a conversation that occurred amongst counsel on

   September 13, 2022 and referring to confidential mediation communications, is likewise

   inadmissible under the CDRA and case law applying it. Accordingly, Plaintiff hereby moves to

   strike paragraph 5 through 14 of the McLaughlin Declaration.

                                       BACKGROUND FACTS

          Plaintiff Email on Acid has asserted intellectual property and contractual claims against its

   former licensee, 250ok, after 250ok breached the parties’ license agreement and misappropriated

   trade secrets. See Complaint, ECF No. 6 (Dec. 11, 2019); Amended Complaint, ECF No. 61 (Oct.

   28, 2020). After over two years of litigation, the parties agreed to discuss the possibility of

   settlement with the assistance of a mediator. On July 21, 2022, Judge Hegarty scheduled the

   Settlement Conference to be held on September 7, 2022, with each party to submit settlement

   proposals to opposing counsel and to Judge Hegarty. Minute Order, ECF No. 117, at 1-2 (July 21,

   2022). Each party was also required to submit confidential comments directly to Judge Hegarty,

   without sending to opposing counsel. Id. at 2.

          The mediated settlement conference occurred on September 7, 2022. There is no written

   record of the discussions or any agreements made during the Settlement Conference.              On


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   September 12, 2022, a Minute Entry ordered the parties to “discuss whether a settlement was

   reached and, if so, shall draft appropriate language effectuating it.” See ECF No. 118 (Sept. 12,

   2022). The following day, Judge Hegarty recused himself from this action due to his “involvement

   in conducting that Settlement Conference and in the interest of avoiding any appearance of

   impropriety.” See ECF No. 119 (Sept. 13, 2022). Also on September 13, 2022, Plaintiff’s counsel

   and Defendants’ counsel conferred by telephone as directed by Judge Hegarty.

          On October 19, 2022, Defendants filed their Motion to Enforce. The only purported

   evidence supporting that motion is the McLaughlin Declaration. See ECF No. 121 (Motion To

   Enforce); ECF No. 121-1 (McLaughlin Declaration).

                                       LEGAL STANDARD

          The Colorado Dispute Resolution Act (the “CDRA”) “protects as confidential those

   communications made in the presence or at the behest of the mediator.” Colo. Rev. Stat. § 13-22-

   307. Mediation communications cover “any oral or written communication” expressed in the

   course of a mediation proceeding aside from a final, fully executed written agreement. Tuscany

   Custom Homes, LLC v. Westover, 490 P.3d 1039, 1042 (Colo. Ct. App. 2020) (citing to Colo. Rev.

   Stat. § 13-22-302). This Court applies the CDRA to settlement conferences in which negotiations

   take place “through the mediation assistance of the court.” GSL of ILL, LLC v. Kroskob, 11-CV-

   00939-WYD-KMT, 2012 WL 10311, at *3-4 (D. Colo. Jan. 3, 2012). Under the CDRA,

   confidential communications may not be considered by a court in determining whether parties

   have entered into a settlement agreement. See, e.g., Tuscany Custom Homes, 490 P.3d at 1044

   (“Any mediation communication that is disclosed in violation of [the CDRA] shall not be admitted

   into evidence in any judicial or administrative proceeding.”); Yaekle v. Andrews, 195 P.3d 1101,


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   1106 (Colo. 2008) (“[P]rotected mediation communications are generally inadmissible as evidence

   in later judicial proceedings.”).

                                            ARGUMENT

          Paragraphs 5 through 13 of the McLaughlin Declaration are inadmissible under the CDRA

   and should be excluded.        Section 13-22-307 of the CDRA, “which renders a mediation

   communication generally inadmissible in a judicial proceeding . . . applies to a mediation

   communication as well as to evidence that discloses information concerning a mediation

   communication.” Tuscany Custom Homes, 490 P.3d at 1042. A party is prohibited from

   “voluntarily disclos[ing] any information concerning a mediation communication” unless “an

   exception, such as written consent to disclosure from all parties and the mediator, applie[s].” Id.

   at 1047-48.

          Here, paragraphs 5 through 13 of the McLaughlin Declaration improperly disclose

   mediation communications that took place at the September 7, 2022 settlement conference with

   Judge Hegarty:

              •   Paragraph 5 discusses a purported mediator’s proposal;

              •   Paragraph 6 discusses the purported payment terms;

              •   Paragraphs 7 and 8 discuss the scope of purported releases;

              •   Paragraph 9 discusses purported dismissal of the litigation; and

              •   Paragraphs 10 through 13 discuss what Defendants characterize as “an additional

                  term” and discussions with Judge Hegarty regarding that additional term.

   All of this is plainly inadmissible under the CDRA. See, e.g., Tuscany Custom Homes, 490 P.3d

   at 1046 (excluding from evidence a mediator’s email summarizing mediation discussions); id. at


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   1049 (excluding from evidence email correspondence following the mediator’s email); id. at 1047-

   48 (excluding from evidence an unsigned draft agreement created at the mediation); Yaekle, 195

   P.3d at 1110 (excluding from evidence unsigned documents created one month after the mediation

   where those documents were created at the request of the mediator); id. at 1112 (excluding from

   evidence an alleged agreement where unsigned and where no indication existed as to finality of

   the document). None of these mediation communications is memorialized in a “fully executed”

   signed document, as required by “the ‘final written document’ exception to mediation

   communications.” Id. at 1110 (Colo. 2008) (citing to Colo. Rev. Stat. §§ 13-22-302(2.5), 13-22-

   307(2)). A draft written agreement created at the request of a mediator constitutes a confidential

   mediation communication. Tuscany Custom Homes, 490 P.3d at 1047. Further, “statements

   forming [an] oral agreement allegedly reached during the mediation” are inadmissible unless the

   parties have communicated “mutual assent” to the terms. Id. However, mutual assent must be

   demonstrated through evidence that is not inadmissible, such as a signed and executed document.

   See id. at 1047-48 (concluding that the evidence as to the alleged oral agreement, including a draft

   written agreement memorializing the terms, were inadmissible as mediation communications

   where the only discussion and drafting occurred at the mediation itself).

          Paragraph 14 of the McLaughlin Declaration also is inadmissible under the CDRA and

   should be excluded. While “post-mediation documents and communications” may be used “to

   prove the existence of an agreement formed outside a mediation proceeding,” they may not be

   used as a magic wand that removes the protection as to confidential mediation communications.

   Tuscany Custom Homes, 490 P.3d at 1048 (citing Yaekle, 195 P.3d at 1110-11). As one Colorado

   court made clear, this type of evidence must be “inadmissible under the statute . . . Otherwise, a


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   party—after going through a mediation proceeding—could write down oral communications made

   during the mediation, not seek any other party’s written assent to the document, and then submit

   the document as evidence of an agreement reached at the mediation, claiming that it is not a

   protected mediation communication because it was not written in the mediator’s presence or at the

   mediator’s behest.” Tuscany Custom Homes, 490 P.3d at 1048. Defendants’ weak attempt to

   introduce confidential mediation communications by repeating their desired settlement terms,

   outside of the presence of the mediator, several days after the Settlement Conference, cannot be

   used as a backdoor to introduce otherwise inadmissible evidence, i.e., what was discussed at the

   September 7, 2022 mediated settlement conference.

          In sum, paragraph 5 through 14 of the McLaughlin Declaration improperly reveal

   confidential mediation communications that are inadmissible under the CDRA and case law

   applying the CDRA. Defendants have provided no evidence that any statutory exception, e.g.,

   written consent to disclosure from all parties and the mediator, applies to authorize the disclosures

   in the McLaughlin Declaration.

                                            CONCLUSION

          Plaintiff respectfully requests that the Court strike paragraph 5 through 14 of the October

   19, 2022 Declaration of Matthew T. McLaughlin.




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   Dated: November 9, 2022
                                            Respectfully submitted,

                                            Email on Acid, LLC,

                                            By its attorneys,

                                            s/ Brett Schuman
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                CERTIFICATE OF COMPLIANCE WITH D.C.COLO.LCivR 7.1(a)

         The undersigned hereby certifies that Plaintiff’s counsel has conferred with counsel for

   Defendants regarding the relief requested in this motion. The parties were unable to reach

   agreement.



   Dated: November 9, 2022
                                                    By: s/ Brett Schuman
                                                    Brett Schuman

                                                    Attorney for Plaintiff Email on Acid, LLC
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                                     CERTIFICATE OF SERVICE

             The undersigned hereby certifies that on this 9th day of November, 2022, a true and correct

   copy of the foregoing PLAINTIFF’S MOTION TO STRIKE THE DECLARATION OF

   MATTHEW T. MCLAUGHLIN was filed and served via CM/ECF on Defendants’ counsel of

   record.



   Dated: November 9, 2022
                                                         By: s/ Brett Schuman
                                                         Brett Schuman

                                                         Attorney for Plaintiff Email on Acid, LLC
